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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                       CHAPTER 11

 MIDNIGHT MADNESS DISTILLING                  CASE NO. 21-11750-MDC
 LLC


  DEBTOR’S EXPEDITED MOTION FOR ENTRY OF AN ORDER: (I) APPROVING
    THE SALE OR SALE OF UP TO SUBSTANTIALLY ALL OF THE DEBTOR’S
 ASSETS, AND THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
  CONTRACTS AND UNEXPIRED LEASES, (II) APPROVING CERTAIN BIDDING
PROCEDURES, ASSUMPTION AND ASSIGNMENT PROCEDURES, AND THE FORM
   AND MANNER OF NOTICE THEREOF, (III) SCHEDULING HEARINGS FOR
            SUCH RELIEF AND (IV) GRANTING RELATED RELIEF

          Debtor, Midnight Madness Distilling, LLC (the “Debtor”), by and through its

undersigned proposed counsel, files this Expedited Motion for the entry of:

          (A)    An order, substantially in the form attached hereto as Exhibit A (the “Bidding

Procedures Order”), (i) scheduling a hearing (the “Sale Hearing”) on approval of the sale (the

“Sale”) of substantially all of the Debtor’s real and personal property and other related interests

(the “Assets”), free and clear of all liens, claims, encumbrances, and other interests (collectively,

the “Encumbrances”), other than those Encumbrances permitted by the Asset Purchase

Agreement by and between the Debtor and ETOH Worldwide, LLC (the “Buyer”) dated as of

June 21, 2021 (the “APA”) and authorizing the assumption and assignment of certain executory

contracts and unexpired leases (each, an “Assumed Contract,” and collectively, the “Assumed

Contracts”) in connection therewith, (ii) authorizing and approving certain proposed bidding

procedures for the Sale in the form attached to the Bidding Procedures Order as Exhibit 1

(collectively, the “Bidding Procedures”), certain proposed assumption and assignment




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procedures (collectively, the “Assumption and Assignment Procedures”), and the form and

manner of notice thereof; and (iii) granting related relief; and

         (B)    After the Sale Hearing, an order (the “Sale Order”)1, (i) authorizing and approving

the Debtor’s entry into the APA with Buyer or other Successful Bidder or Back-Up Bidder (each

as defined in the Bidding Procedures), as applicable; (ii) authorizing and approving the Sale of

the Assets, free and clear of all Encumbrances other than those permitted by the applicable APA;

(iii) authorizing and approving the assumption and assignment of the Assumed Contracts in

connection therewith; and (iv) granting related relief.

         In support of the Motion, the Debtor respectfully represents as follows:

                                     JURISDICTION AND VENUE

         1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

Venue of this proceeding is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.     The statutory predicates for the relief requested herein are 28 U.S.C. § 156(c), and

Sections 105(a), 363 and 365 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”) and Rule 2002 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).

                                              BACKGROUND

         3.     On June 21, 2021 (the “Petition Date”), the Debtor filed a voluntary petition with

this Court under Chapter 11 of the Bankruptcy Code.




1
  The Debtor will file a form of Sale Order as soon as practicable after such document is negotiated with the
Buyer.

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         4.    The factual background relating to the Debtor’s commencement of this case is set

forth in detail in the Declaration of Casey Parzych in Support of First Day Motions and

Applications filed on the Petition Date and incorporated herein by reference.

         5.    As described on the First Day Affidavit, the Debtor is a Pennsylvania limited

liability company and operates a distillery and packaging plant in Bucks County, Pennsylvania.

It employs approximately 80 individuals on a full and part-time basis.

         6.    The Sale contemplated herein is critical to ensure the viability of the Debtor’s

business, payment to vendors and provide a chance of continued employment for workers.

         7.    At the current time, the Debtor is in default with its primary lender, PNC Bank,

N.A., its business operations are losing money, and its disgruntled, ousted and out-of-the-money

minority shareholder has initiated needless litigation.

         8.    Without an outside investment and continuation of support from Buyer and

affiliates including AgTech VI, LLC and EtOH Worldwide, LLC as well as XO Energy

Worldwide, LLP (as the sole member of AgTech VI, LLC and EtOH Worldwide, LLC)

(collectively, the “Buyer Affiliates”), the Debtor will be unable to pay debt service and continue

operations. Fortunately, the Debtor has entered into various ventures with the Buyer Affiliates to

help keep the business afloat (as described in greater detail below).

         9.    As a result, the Buyer Affiliates have made a substantial investment into the

Debtor’s business. For example, since February of 2021 the respective Buyer Affiliates have

leased certain canning machinery to the Debtor (at a below market rate of $.12 per can) which

has generated about 60% of the Debtor’s current revenue. Although commenced three months

ago, the Debtor has yet to pay rent for such leases and remains in arrears for over $140,000 on

such payments. In all, at this time, the Buyer Affiliates have committed substantial other



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investments with the Debtor and related businesses with the hopes of entering into a longer-term,

acceptable and stable solution with Debtor as well. To date, the Buyer Affiliates efforts have

been thwarted because of an inability to reach a resolution outside of bankruptcy with the

Debtor’s secured lender and a minority equity holder.

         10.   The Buyer Affiliates are running out of patience. In light of the pending PNC

default, the Buyer Affiliates have asked the Debtor to either sell its assets in a Chapter 11 Section

363 sale or proceed without the Buyer Affiliates’ support.

         11.   At this point, the Debtor cannot survive without the Buyer Affiliates or another

purchaser. Absent consummation of the APA and related transactions, the Debtor will likely be

liquidated, leaving the Debtor’s secured lenders with far less than their portion of the Purchase

Price, trade creditors with nothing and approximately 80 employees out of jobs in a small town.

         12.   The APA can generally be summarized as follows:2

                       i.        A Purchase Price of $1,025,000 for all or
                                 substantially all of the Debtor’s Assets free and
                                 clear of liens, claims and encumbrances (other than
                                 as otherwise specifically assumed by the APA);

                       ii.       Assumption of the liability for the Debtor’s trade
                                 debts to the extent not included in the Purchase
                                 Price;

                       iii.      Assumption and cure of all/substantially all leases
                                 and contracts needed for Debtor’s business
                                 operations;

                       iv.       Assumption of the first mortgage of Francis E.
                                 Stubbs and Maria Del Carmen Nuno for the
                                 Debtor’s real property located at 118 N. Main
                                 Street, Trumbauersville Borough, Bucks County,
                                 Pennsylvania;


2
  This is a summary only provided for a general understanding of the transaction represented in
the APA. If there is any contradiction or differences between this summary and the APA, the
specific terms of the APA shall exclusively control.

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                        v.       Continued employment of all or substantially all of
                                 the Debtor’s current employees; and

                        vi.      Entry into a Master Subcontract Agreement and
                                 sublease arrangement that will enable the Buyer to
                                 subcontract operations to Debtor while Buyer
                                 obtains its own licenses from the Pennsylvania
                                 Liquor Control Board.

         13.    Despite the Debtor’s existing connections with the Buyer Affiliates and the

substantial advantages the APA provides to the Debtor and its employees and creditors, the

Debtor seeks to obtain maximum exposure of the APA to the market to ensure that the highest

and best offer is being obtained for the assets being sold.

         14.    Buyer is the stalking horse here, and the Debtor believes that the offer and

transactions contemplated by the APA are fair and reasonable and in the best interests of the

estate and its creditors.

         15.    Nevertheless, the Debtor seeks to solicit all other potential bidders in the market,

strategic and financial or otherwise, to determine if a higher and better offer can be obtained.

         16.    The Debtor has an Application seeking the employment of Comly Auctioneers

and Appraisers as the Debtor’s Broker in this case (“Comly”) currently pending. Comly is

familiar with the Assets, having previously provided an appraisal to PNC. Comly has vast

professional expertise in the sale and marketing of distressed assets and will assist the Debtor in

marketing the Assets to determine if any other buyers are able to step forward.

         17.    Detailed Bid Procedures are provided in the Bid Procedures Order that

accompany this Motion. Importantly, the Bid Procedures provide that in the event that a

Qualified Bid emerges, an Auction will occur. But, in order to obtain the Buyer’s agreement to

act as a stalking horse buyer, the Seller has agreed to seek approval of the following bid

protections and other features as noted in the Bid Procedures:


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                        i.        An expense reimbursement of up to $100,000;

                        ii.       An initial bid increment of the expense
                                  reimbursement plus $50,000 for a total initial bid
                                  increment of $150,000; and

                        iii.      Subsequent bid increments of $50,000, with the
                                  ability to have the Buyer credit bid the value of the
                                  expense reimbursement and the break-up fee.

                                  EXPEDITED CONSIDERATION

         18.    In order to effectuate this transaction in a timely manner and enable the business

to continue, creditors to be paid and jobs preserved, the Buyer Affiliates require that deal be

consummated by August 12, 2021. Working backwards and as a result of that closing date, the

Buyer Affiliates also require that this Court hold a hearing on bidding procedures prior to July

14, 2021 (subject to this Court’s availability). In light of all of the benefits to the estate and also

based on the Declaration of Casey Parzych in Support of First Day Motions and Applications,

the Debtor respectfully requests that this Court schedule the bid procedures hearing prior to July

14, 2021.

                      NOTICE PROCEDURES FOR THE SALE,
               BIDDING PROCEDURES, AUCTION, AND SALE HEARING

         19.    The Debtor also requests approval of the sale notice (the “Sale Notice”),

substantially in the form attached to the Bidding Procedures Order as Exhibit 2. Within one (1)

business day of the entry of the Bidding Procedures Order, the Debtor will serve the Sale Notice

by first class mail on: (1) the Office of the United States Trustee; (2) counsel to the Official

Committee of Unsecured Creditors, if any; (3) counsel to PNC, N.A, Debtor’s prepetition

secured lender; (4) all parties known by the Debtor to assert a lien on any of the Assets; (5) all

persons known to have asserted an interest in any of the Assets; (6) all non-Debtor parties to any

of the Assumed Contracts; (7) the Office of the United States Attorney for the Eastern District of


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Pennsylvania; (8) the Office of the Attorney General in Pennsylvania; (9) the Office of the

Secretary of State of Pennsylvania; (10) the Internal Revenue Service; (11) the Pennsylvania

Department of Revenue; (12) the Pennsylvania Liquor Control Board; (13) the United States

Environmental Protection Agency and similar state agency in Pennsylvania; and (14) any other

parties that have filed a notice of appearance and demand for service of papers in this chapter 11

case as of the date of service.

         20.    In addition, the Debtor will serve the Sale Notice on all of the Debtor’s known

creditors, investors, and equity/unit holders (for whom identifying information and addresses are

available to the Debtor).

                     ASSUMPTION AND ASSIGNMENT PROCEDURES

         21.    To facilitate the Sale, the Debtor seeks authority to potentially assume and assign

the Assumed Contracts to the Buyer in accordance with the Assumption and Assignment

Procedures. The Assumption and Assignment Procedures are detailed in the Bidding Procedures

Order, and they include the following:

        The identification of contracts that could potentially be assumed or assumed and assigned
         and the proposed Cure Amount.

        Service of an assumption notice, substantially in the form attached to the Bidding
         Procedures Order as Exhibit 3.

        The provision of seven (7) days for counterparties to the Assumed Contracts (each a
         “Counterparty”) to object to the Debtor’s ability to assume and/or assign the contract and
         proposed Cure Amount, excluding adequate assurance of future performance of the
         Debtor or assignee.

        The requirement of notice after the Auction (if any) to the proposed assignee with at least
         approximately three (3) business days to object to adequate assurance of future
         performance of the assuming Debtor or its proposed assignee, as applicable.

        The condition that failure to timely object to the proposed assumption, assignment (if
         applicable), and Cure Amount, will result in the Counterparty being deemed to consent to
         the proposed assumption or assumption and assignment and Cure Amount.

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                                      RELIEF REQUESTED

         22.    By this Motion, the Debtor seeks entry of: (a) the Bidding Procedures Order, (i)

scheduling a date for the Sale Hearing, (ii) authorizing and approving the Bidding Procedures

and the Assumption and Assignment Procedures, and the form and manner of notice thereof, and

(iii) granting related relief; and (b) one or more Sale Orders, (i) authorizing and approving the

Debtor’s entry into the APA(s) with Successful Bidder(s) or Back-Up Bidder(s), as applicable,

(ii) authorizing and approving the Sale(s), free and clear of all Encumbrances, (iii) authorizing

and approving the assumption and assignment of the Assumed Contacts in connection with such

Sale(s); and (iv) granting related relief.

         23.    The Bidding Procedures Order, if approved, will establish the following timeline

(all times in ET), which the Debtor believes is appropriate to arrive at a value maximizing

transaction:



                            [Remainder of Page Intentionally Left Bank]




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                              Event                              Proposed Dates

               Bidding Procedures Hearing                     Prior to July 14, 2021

               Deadline to serve Sale Notice,             One business day after Bidding
               including to potential purchasers by        Procedures Order is entered
               first class mail

               Deadline to serve Assumption               One business day after Bidding
               Notice                                      Procedures Order is entered

               Deadline to object to Assumption            August 5, 2021 at 4:00 p.m.
               Notice (other than adequate
               assurance)

               Deadline to object to Sale (other           August 5, 2021 at 4:00 p.m.
               than with respect to assumption and
               assignment)

               Bid Deadline                                 July 29, 2021 at 12:00 p.m.

               Auction, if any, commence                   August 3, 2021 at 10:00 a.m.

               Deadline to object to adequate              August 5, 2021 at 4:00 p.m.
               assurance

               Deadline to Object to Conduct of                  At Sale Hearing
               Auction

               Sale Hearing                                       August 6, 2021

               Outside Closing Date                              August 12, 2021



         24.       The Debtor respectfully submits that the timeline set forth in the Bidding

Procedures is reasonable and necessary under the circumstances of these cases. Such timeline

will allow parties in interest sufficient time to determine whether to formulate competing bids.




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         25.   If appropriate and necessary, the Debtor will also promptly make the disclosures

required under Bankruptcy Rules 6004 and Local Rule 6004-1(b) with respect to any Qualified

Bids.

                                      BASIS FOR RELIEF

         A.    Sufficient Business Justification Exists for Consummation of the Sale Under
               Bankruptcy Code Sections 105(a) and 363(b)

         26.   Pursuant to section 105(a) of the Bankruptcy Code, a “[c]ourt may issue any

order, process or judgment that is necessary or appropriate to carry out the provisions of this

title.” 11 U.S.C. § 105(a). Section 363(b) of the Bankruptcy Code provides that a debtor, “after

notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b). Although section 363(b) does not specify a standard

for determining when it is appropriate for a court to authorize the use, sale or lease of property of

the estate, courts have required that such use, sale or lease be based upon the sound business

judgment of the debtor. See, e.g., Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir.

1996) (internal citation omitted); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel

Corp.), 722 F.2d 1063, 1070-71 (2d Cir. 1983); In re Ahhotts Dairies of Pennsylvania, Inc., 788

F.2d 143, 147-48 (3d Cir. 1986) (implicitly adopting the “sound business judgment” test of In re

Lionel Corp.); In re Delaware & Hudson Ry. Co., 124 B.R. 169, 175-76 (D. Del. 1991) (holding

that the Third Circuit adopted the “sound business judgment” test in Abbotts Dairies); Dai-Ichi

Kangyo Bank, Ltd. v. Montgomery Ward Holding Corp. (In re Montgomery Ward Holding

Corp.), 242 B.R. 147, 153 (D. Del. 1999) (same).

         27.   The demonstration of a valid business justification by the debtor leads to a strong

presumption “that in making [the] business decision the directors of a corporation acted on an

informed basis, in good faith and in the honest belief that the action taken was in the best


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interests of the company.” Official Comm. of Subordinated Bondholders v. Integrated Res., Inc.

(In re Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith v. Van Gorkom,

488 A.2d 858, 872 (Del. 1985)).

         28.     The Debtor submits that its decision to market and sell its Assets, through a

section 363 sale, represents a reasonable exercise of the Debtor’s business judgment and,

accordingly, the Sale should be approved under sections 105(a) and 363(b) of the Bankruptcy

Code. As discussed above and in the First Day Affidavit, the Debtor is unable to continue as a

going concern under their existing debt structure, thereby necessitating a comprehensive

restructuring of the Debtor and its assets. The Debtor submits that a sale of its Assets will

effectuate this necessary change.

         29.     In seeking approval of the APA, the Debtor intends to ensure that the APA is the

highest and best value for their Assets. The Debtor is committed to considering all rational and

viable proposals in search of that goal. The open and fair sale process contemplated by the

Bidding Procedures will ensure that the Debtor’s estate receive the highest and best value

available for the Assets by allowing the market to set the purchase price of the Assets and/or to

test any purchase price contained in the APA from the Buyer. Furthermore, compliance with the

Bidding Procedures will ensure the fairness and reasonableness of the consideration to be paid by

any Successful Bidder, and establish that the Debtor and the Successful Bidder have proceeded

in good faith.

         30.     Additionally, the Debtor believes that the notice procedures described above are

reasonable and adequate under the circumstances. Bankruptcy Rules 2002(a) and (c) require the

Debtor to notify creditors of the Sale, the terms and conditions of the Sale, the time and place of

the Auction, if any, and the deadline for filing any objections. The Debtor believes that the



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proposed notice procedures fully comply with Bankruptcy Rule 2002 and are reasonably

calculated to provide timely and adequate notice of the Sale, Bidding Procedures, Auction, and

Sale Hearing to the Debtor’s creditors and all other parties in interest that are entitled to notice,

as well as those parties that have expressed a bona fide interest in acquiring the Assets.

         31.   The Sale conducted in accordance with the Bidding Procedures will generate

significant value for the Debtor’s estate and represents the best path forward for maximizing

recoveries to such estate, the Debtor’s creditors, and all parties in interest. The Debtor submits

that ample business justification exists for the consummation of the Sale and, therefore, requests

that this Court approve the Sale.

         B.    The Sale of the Assets Free and Clear of All Encumbrances Is Authorized
               Under Bankruptcy Code Section 363(f)

         32.   Section 363(f) of the Bankruptcy Code authorizes a debtor to sell assets free and

clear of liens, claims, interests and encumbrances if:

               (1) applicable non-bankruptcy law permits sale of such property free and clear of
               such interest; (2) such entity consents; (3) such interest is a lien and the price at
               which such property is to be sold is greater than the aggregate value of all liens on
               such property; (4) such interest is in bona fide dispute; or (5) such entity could be
               compelled, in a legal or equitable proceeding, to accept a money satisfaction of
               such interest.

11 U.S.C. § 363(f). This provision is supplemented by section 105(a) of the Bankruptcy Code,

which provides that “[t]he court may issue any order, process or judgment that is necessary or

appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).

         33.   Because section 363(f) of the Bankruptcy Code is drafted in the disjunctive,

satisfaction of any one of its five requirements will suffice to permit the sale of the Assets “free

and clear” of liens and interests. See Citicorp Homeowners Servs., Inc. v. Elliot (In re Elliot), 94

B.R. 343, 345 (E.D. Pa. 1988) (noting that because section 363(f) is written in the disjunctive, a



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court may approve a sale free and clear if any one subsection is met); see also Mich. Emp ‘t Sec.

Comm’n v. Wolverine Radio Co. (In re Wolverine Radio Co.), 930 F.2d 1132, 1147 n.24 (6th

Cir. 1991) (same); In re Bygaph, Inc., 56 B.R. 596, 606 n.8 (Bankr. S.D.N.Y. 1986) (same).

Furthermore, a debtor possesses broad authority to sell assets free and clear of liens. See In re

Trans World Airlines, Inc., 322 F.3d 283, 289 (3d Cir. 2003).

         34.   The Debtor submits that, in the interest of attracting the best offers, it is

appropriate to sell its Assets free and clear of any and all Encumbrances (except as otherwise

expressly set forth in the Sale Order and the APA) in accordance with section 363(f) of the

Bankruptcy Code, because one or more of the tests of section 363(f) are, or will be, satisfied with

respect to any Sale. In particular, the Debtor believes that section 363(f)(2) of the Bankruptcy

Code will be met, because the Debtor’s prepetition secured lenders are secured by, among other

things, any liens on the Assets, which will instead attach to the proceeds to be paid at closing of

the Sale.

         35.   The Debtor further anticipates that it will be able to satisfy one or more of the

conditions set forth in section 363(f). The Debtor will serve the Sale Notice on all parties known

to assert a lien, claim, or encumbrance against the Assets, so lienholders will receive notice and

will be given sufficient opportunity to object to the relief requested. Lienholders that are on

notice of, and do not object to, a Sale should be deemed to have consented to that Sale. See, e.g.,

FutureSource LLC v. Reuters Ltd., 312 F.3d 281, 285-86 (7th Cir. 2002) (“[L]ack of objection

(provided of course there is notice) counts as consent. It could not be otherwise; transaction costs

would be prohibitive if everyone who might have an interest in the bankrupt’s assets had to

execute a formal consent before they could be sold.”) (internal citations omitted); Hargrave v.

Twp. of Pemberton (In re Tabone, Inc.), 175 B.R. 855, 858 (Bankr. D.N.J. 1994) (holding that



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creditor’s failure to object to sale free and clear of liens, claims and encumbrances satisfies

section 363(f)(2)); In re Elliot, 94 B.R. at 345 (same). In the event of an objection from a secured

creditor to the Debtor’s requested section 363(f) finding, the Debtor reserves the right to

demonstrate that the other provisions of section 363(f) have been satisfied.

C.       The Sale Should Be Subject to the Protections of Section 363(m)

         36.    Section 363(m) of the Bankruptcy Code provides, in part, that the reversal or

modification on appeal of an authorization of a sale pursuant to section 363(b) or section 363(c)

of the Bankruptcy Code does not affect the validity of a sale or lease under such authorization to

an entity that purchased or leased such property in good faith, whether or not such entity knew of

the pendency of the appeal, unless such authorization and such sale or lease were stayed pending

appeal. See 11 U .S.C. § 363(m).

         37.    In approving the Sale free and clear of Encumbrances, the Debtor requests that the

Court find and hold that the Buyer is entitled to the protections afforded by section 363(m) of the

Bankruptcy Code. Such relief is appropriate in that selection of the Buyer was performed via

arm’s-length, good-faith negotiations that were then subject to the Bidding Procedures, and

parties in interest will have the opportunity to review and object to a proposed transaction. See

Esposito v. Title Ins. Co. of Pa. (In re Fernwood Mkts.), 73 B.R. 616, 620 (Bankr. E.D. Pa. 1987)

(good faith purchasers are protected under section 363(m) where notice is provided to

lienholders).

D.       The Court Should Approve the Bidding Procedures

         38.    The key objective in any sale of property of a debtor’s estate is to maximize the

value received by the estate. See In re Mushroom Transp. Co., 382 F.3d 325, 339 (3d Cir. 2004)

(finding that debtor “had a fiduciary duty to protect and maximize the estate’s assets”); Official



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Comm. of Unsecured Creditors of Cybergenics, Corp v. Chinery, 330 F.3d 548, 573 (3d

Cir.2003) (same). Procedures used to enhance competitive bidding support this objective and,

therefore, are appropriate in the context of bankruptcy Sale. See In re O’Brien Envil. Energy,

Inc., 181 F.3d 527, 537 (3d Cir. 1999); see also Integrated Res. Inc., 147 B.R. at 659 (stating that

bidding procedures “encourage bidding and . . . maximize the value of the debtor’s assets”).

         39.    The Debtor has designed the Bidding Procedures (including the expense

reimbursement and bid increments) to incentivize the Stalking Horse bidder while also

promoting a competitive and fair bidding process. Thus, this will maximize the value for the

Debtor’s estate and creditors. The Bidding Procedures will allow the Debtor to conduct any

Auction (if necessary) in a controlled, fair and open fashion that will encourage participation by

financially capable bidders, thereby increasing the likelihood that the Debtor will receive the

highest and best possible consideration for the Assets (or, alternatively, demonstrate that the

APA is in fact already the best achievable consideration for the Assets).

         40.    Furthermore, the Bidding Procedures provide an appropriate framework for the

Debtor to review, analyze and compare any bids received in order to determine which bids are in

the best interests of the Debtor’s estate and its creditors. The Debtor submits that this timetable is

fair and reasonable in light of the Debtor’s current circumstances.

         41.    The Debtor submits that the forgoing procedures are fair and transparent and will

derive the highest and best bids for the Assets. Therefore, the Debtor requests that the Court

approve the Bidding Procedures, including the dates established thereby for the Auction and the

Sale Hearing.

E.       The Assumption and Assignment of the Assumed Contracts in Connection with the
         Sale Satisfies Bankruptcy Code Section 365




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         42.   Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in

possession, “subject to the court’s approval, may assume or reject any executory contract or

unexpired lease of the debtor.” See 11 U.S.C. § 365(a). Courts have held that “[t]he purpose

behind allowing the assumption or rejection of executory contracts is to permit the trustee or

debtor-in-possession to use valuable property of the estate and to ‘renounce title to and abandon

burdensome property.’” Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures

Corp.), 4 F.3d 1095, 1098 (2d Cir. 1993) (quoting 2 COLLIER ON BANKRUPTCY ¶ 365.01[1]

(15th ed. 1993)).

         43.   As set forth above, the Sale should provide significant benefits to the Debtor’s

estate and maximize the value of the Assets. To that end, permitting the Debtor to assume and

assign the Assumed Contracts should provide the Debtor with flexibility to enter into a

transaction that will obtain the greatest benefits from any Sale. In addition, under section 365(k)

of the Bankruptcy Code, the assignment by a debtor to an entity of a contract or lease “relieves

the trustee and the estate from any liability for any breach of such contract or lease occurring

after such assignment.” See 11 U.S.C. § 365(k). Thus, following an assignment of any Assumed

Contract, the Debtor will be relieved from any liability for any subsequent breach associated

therewith.

         44.   Furthermore, Section 365(b)(1) of the Bankruptcy Code requires that any

outstanding defaults under the Assumed Contracts must be cured or that adequate assurance be

provided that such defaults will be promptly cured. See 11 U.S.C. § 365(b)(1). The Debtor

proposes to file with this Court and serve on each Counterparty to an Assumed Contract an

Assumption Notice that indicates the proposed Cure Amount for each such contract. As such,

each Counterparty will have the opportunity to object to the proposed assumption and



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assignment to the Buyer or Successful Bidder and to the proposed Cure Amount, if applicable.

Moreover, the payment or reserve of the applicable Cure Amount will be a condition to the

Debtor’s assumption and assignment of any Assumed Contract.

         45.   Relatedly, section 365(f)(2) of the Bankruptcy Code provides that a debtor may

assign an executory contract or unexpired lease of nonresidential real property if “adequate

assurance of future performance by the assignee of such contract or lease is provided.” 11 U.S.C.

§ 365(f)(2). The words “adequate assurance of future performance” must be given a “practical,

pragmatic construction” in light of the facts and circumstances of the proposed assumption. See

In re Fleming Cos., Inc., 499 F.3d 300, 307 (3d Cir. 2007) (internal citation omitted); Carlisle

Homes, Inc. v. Azzari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J. 1988)

(same); see also In re Natco Indus., Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y. 1985) (finding that

adequate assurance of future performance does not mean absolute assurance that debtor will

thrive and profit); In re Bon Ton Rest. & Pastry Shop, Inc., 53 B.R. 789, 803 (Bankr. N.D. Ill.

1985) (“Although no single solution will satisfy every case, the required assurance will fall

considerably short of an absolute guarantee of performance.”).

         46.   Specifically, adequate assurance may be given by demonstrating the assignee’s

financial health and experience in managing the type of enterprise or property assigned. See In re

Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (holding that adequate assurance of

future performance is given where assignee of lease has financial resources and expresses

willingness to devote sufficient funding to the business to ensure its success, and that in the

leasing context, chief determinant of adequate assurance is whether rent will be paid).




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         47.     Here, the Buyer or Successful Bidder will have provided adequate assurance of

future performance with respect to any Assumed Contract to the extent requested or as provided

in the Bid Procedures.

         48.     Therefore, the Debtor respectfully requests that the Court (a) approve the

proposed assumption and/or assumption and assignment of the Assumed Contracts, and (b) find

that all anti-assignment provisions of such contracts to be unenforceable under section 365(f) of

the Bankruptcy Code.

             WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(h) AND 6006(d)

         49.     Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale, or

lease of property other than cash collateral is stayed until the expiration of 14 days after entry of

the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). Furthermore,

Bankruptcy Rule 6006(d) provides that an “order authorizing the trustee to assign an executory

contract or unexpired lease under § 365(f) is stayed until the expiration of 14 days after the entry

of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6006(d).

         50.     As set forth throughout this Motion, any delay in the Debtor’s ability to

consummate the Sale would be detrimental to the Debtor, its creditors and estates, and would

impair the Debtor’s ability to take advantage of the substantial cost-savings that can be achieved

by an expeditious closing of the Sale.

         51.     For this reason and those set forth above, the Debtor submits that ample cause

exists to justify a waiver of the fourteen day stay imposed by Bankruptcy Rule 6004(h) and

6006(d), to the extent applicable.

                                              NOTICE

         52.     Notice of this Motion has been provided to: (a) the Office of the United State



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Trustee; (b) counsel to PNC, N.A.; (c) all of the creditors listed on the Debtor’s matrix; (d) all

applicable federal, state and local taxing and regulatory authorities having jurisdiction over the

Assets and the Pennsylvania Liquor Control Board; (e) all parties known to the Debtor who hold

any lien or security interest in the Debtor’s Assets who have filed UCC-1 financing statements

against the Debtor, or who, to the Debtor’s knowledge, have asserted any liens on any of the

Debtor’s Assets; and (f) all parties who have filed a notice of appearance and request for service

of papers pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested herein,

the Debtor submit that no other or further notice is necessary.

                                     NO PRIOR REQUEST

         53.   The Debtor has not previously sought the relief requested herein from this or any

other Court.

                                          CONCLUSION

         WHEREFORE, the Debtor request entry of the Bidding Procedures Order and the Sale

Order granting the relief requested herein and such other and further relief as is just and proper.


Dated: June 21, 2021                          FLASTER/GREENBERG P.C.

                                              /s/ William J. Burnett
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